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WESTERN DISTRICT oF TENNESSEE 05 jun trt ;,.;; 3= gm
Western Division '
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UNITED STATES OF AMERICA

-vs~ Case No. 2:01cr20085-4-D

LARRY JOE TRUELOVE

 

ORDER OF TEMPORARY DETENTION
PENDING HEARINGl PURSUANT TO
BAIL REFORM ACT

Upon motion of the Government, it is ORDERED that a detention/probable cause hearing
is set for THURSDAY, JUNE 16, 2005 at 3:30 P.M. before United States Magistrate Judge S.
Thomas Anderson in Courtroom M-3, 9th Floor, United States Courthouse and F ederal Building,
167 Nolth Main, Memphis, TN. Pending this hearing, the defendant shall be held in custody by the
United States Marshal and produced for the hearing

Date: June 13, 2005 b/`J

TU M. PHAM
UNITED S'I`ATES MAGISTRATE JUDGE

 

llt` not held immediately upon defendants first appearance, the heating may be continued for up to three days upon
motion of the government, or up to five days upon motion of the defendant 18 U.S.C. § 3l42(tj(2).

A hearing is required Whenever the conditions set forth in l 8 U.S.C. § 3142(1") are prcsent. Subsection (l ) sets forth
the grounds that may be asserted only by the attorney for the government; subsection (2) states that a hearing is mandated
upon the motion of the attorney for the government or upon the judicial ofticer's own motion, if there is a serious n`sk that the
defendant (a) will flee or (b) Will obstruct or attempt to obstruct j ustice, or threaten, injure, or intimidate or attempt to threaten,
injure, or intimidate a prospective witness or juror.

AU 470 (B.'B5) Order of Temporary Detention

Thls document entered on the docket sheet in compliance
with nme ss and/erez(b) mch on ~/ 435

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 390 in
case 2:0]-CR-20085 Was distributed by faX, mail, or direct printing on
June 14, 2005 to the parties listed.

 

 

Thornas A. Colthurst

U.S. ATTORNEY'S OFFICE
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Ste. 800

l\/lemphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

